         Case 2:08-cr-00420-KJM-KJN Document 41 Filed 06/25/09 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar #161566
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     IVAN QUINTERO JIMENEZ
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. CR-S-08-420 EJG
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
14        v.                         )     STATUS CONFERENCE
                                     )
15   IVAN QUINTERO JIMENEZ, et al., )
                                     )     Date: June 26, 2009
16                  Defendants.      )     Time: 10:00 a.m.
                                     )     Judge: Edward J. Garcia
17   _______________________________ )
18        IT IS HEREBY STIPULATED AND AGREED between the parties, Mary L.
19   Grad, Assistant United States Attorney, and Matthew C. Bockmon,
20   attorney for defendant Ivan Quintero Jimenez, that the Status
21   Conference now scheduled for June 26, 2009 be vacated, and a new status
22   conference date of July 10, 2009 be set.
23        This continuance is being requested because defense counsel needs
24   time for attorney/client consultation with interpreter at Butte County
25   Jail to review plea agreement with defendant, who speaks only Spanish.
26        IT IS STIPULATED that the period from the signing of this Order up
27   to and including July 10, 2009 be excluded in computing the time within
28   which trial must commence under the Speedy Trial Act, pursuant to 18
          Case 2:08-cr-00420-KJM-KJN Document 41 Filed 06/25/09 Page 2 of 2


 1   U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, for ongoing preparation
 2   of counsel.
 3   Dated: June 23, 2009                    Respectfully submitted,
 4                                           DANIEL BRODERICK
                                             Federal Defender
 5
                                             /s/ Matthew C. Bockmon
 6                                            ________________________
                                             MATTHEW C. BOCKMON
 7                                           Assistant Federal Defender
                                             Attorney for Defendant
 8                                           IVAN QUINTERO JIMENEZ
 9
10   Dated: June 23, 2009                    LAWRENCE G. BROWN
                                             Acting United States Attorney
11
12                                            /s/ Mary L. Grad
                                             _________________________
13                                           MARY L. GRAD
                                             Assistant U.S. Attorney
14
15                                         ORDER
16            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
17   ordered that the status conference presently set for June 26, 2009, be
18   continued to July 10, 2009, at 10:00 a.m.         The Court finds that the
19   ends of justice to be served by granting a continuance outweigh the
20   best interests of the public and the defendant in a speedy trial.            It
21   is ordered that time from this date to, and including, the July 10,
22   2009 status conference shall be excluded from computation of time
23   within which the trial of this matter must be commenced under the
24   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and
25   Local Code T-4, to allow defense counsel time to prepare.
26   Dated: June 23, 2009
27                                           /s/ Edward J. Garcia
                                             EDWARD J. GARCIA
28                                           United States District Judge


     Stip & Order                           -2-
